Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 1 of 14




                EXHIBIT 19

                REDACTED
           Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 2 of 14



 1                                                                The Honorable John C. Coughenour
 2

 3

 4

 5

 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
10

11                                                          Case No. 2:21-cv-00563-JCC
       IN RE VALVE ANTITRUST LITIGATION
12                                                          VALVE CORPORATION’S
                                                            SUPPLEMENTAL RESPONSES AND
13                                                          OBJECTIONS TO PLAINTIFFS’
                                                            SECOND SET OF INTERROGATORIES
14

15

16          Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendant Valve Corporation

17 (“Valve”), by and through its undersigned counsel, provides its supplemental Responses to

18 Interrogatory Nos. 12 and 14 of Plaintiffs’ Second Set of Interrogatories.

19                                      GENERAL OBJECTIONS

20           Valve incorporates by reference the General Objections set forth in its Responses and

21 Objections to Plaintiffs’ Second Set of Interrogatories dated March 13, 2023 as though fully set forth

22 herein. Valve’s supplemental Responses to Interrogatory Nos. 12 and 14 below are made without

23 prejudice to Valve’s right to assert further responses or objections should Valve discover additional

24 grounds for such responses or objections.

25

26

       CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                    FOX ROTHSCHILD LLP
       VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                            1001 FOURTH AVENUE, SUITE 4400
       SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 1                                    SEATTLE, WA 98154
                                                                                                     206.624.3600
            Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 3 of 14




 1                                         INTERROGATORIES
 2           INTERROGATORY NO. 12:
 3           Identify with specificity each instance in the previous seven (7) years in which Valve has
 4 rejected a publisher’s or a developer’s request to release a Game Title through Steam. For each

 5 such instance, identify (1) the PC game rejected, (2) the reason(s) Valve provided to the publisher

 6 or developer for such rejection, (3) the date of the rejection, (4) any Valve employees materially

 7 involved in the decision to reject the request, and (5) any material documents or communications

 8 reflecting or evidencing the rejection and the reasons therefor.

 9           RESPONSE TO INTERROGATORY NO. 12:
10           In addition to its General Objections, Valve objects to this Interrogatory as unduly
11 burdensome, overbroad in scope and subject matter, and seeking information that is not relevant

12 to any issues in, or proportional to the needs of, this case because it seeks to have Valve identify

13 “each instance” Valve did not approve a request to distribute a game through Steam, regardless of

14 the reason and without any relation to the claims and defenses in the case. Based on its objections,

15 for purposes of responding to this Interrogatory, Valve will interpret the phrase “rejected a

16 publisher’s or a developer’s request to release a Game Title through Steam” as limited to rejecting

17 such requests for reasons other than the following, which are irrelevant to the claims asserted

18 against Valve: (i) for reasons related to a Digital Millennium Copyright Act takedown notice or

19 claims, (ii) a copyright or trademark dispute, or (iii) for violation of the content rules and guidelines

20 listed on https://partner.steamgames.com/doc/gettingstarted/onboarding. Valve also objects to this

21 Interrogatory as overbroad, unduly burdensome, and not proportional to the needs of the case

22 insofar as it seeks such information (i) from prior to the launch of Steam Direct on June 13, 2017

23 (https://steamcommunity.com/games/593110/announcements/detail/1328973169870947116), (ii)

24 from time periods for which data is not kept and would require manual review of records and

25 communications to compile, and (iii) for an unreasonably long period of time extending well

26 beyond any applicable statute of limitations. Based on its objections and available data, insofar as

       CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                      FOX ROTHSCHILD LLP
       VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                              1001 FOURTH AVENUE, SUITE 4400
       SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 2                                      SEATTLE, WA 98154
                                                                                                       206.624.3600
           Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 4 of 14




 1 Valve provides information in response to this Interrogatory, it will be for the period of June 13,

 2 2017 to the present and will be taken from data reasonably available to Valve in the ordinary course

 3 of business. Valve also objects to this Interrogatory as cumulative and/or duplicative of Plaintiffs’

 4 Request for Production No. 28, and objects insofar as this Interrogatory seeks information different

 5 from or additional to information the parties agreed would be produced in response to Request

 6 No. 28. Valve further objects to the phrase “any Valve employees” insofar as it seeks to have

 7 Valve disclose information, or identify any attorneys or in-house counsel, which would in effect

 8 disclose the substance of privileged information or protected communications, as further described

 9 in General Objection No. 7. Based on its objections, Valve is not identifying any attorneys, or

10 consultants or other individuals or entities retained by attorneys or working at their direction in

11 connection with their representation of or provision of legal advice to Valve in response to this

12 Interrogatory. Valve also objects to this Interrogatory’s use of the phrase “materially involved in”

13 as vague and ambiguous. For purposes of responding to this Interrogatory, Valve interprets the

14 phrase “materially involved in” to mean that the person took material or meaningful actions

15 regarding rejection of such a request beyond merely sharing or receiving information or

16 performing administrative or ministerial tasks in connection with the rejection. Valve also objects

17 to the phrase “material documents or communications” as vague to the extent it leaves Valve

18 guessing as to what should be considered “material.” Valve objects to this Interrogatory to the

19 extent it seeks (i) information, communications, or documents protected from discovery or

20 disclosure by the attorney-client privilege, the work product immunity, and any other applicable

21 privileges, protections or immunities or (ii) confidential commercial information related to or

22 belonging to third parties that is not publicly disclosed in the ordinary course of business, and

23 which Valve is contractually obligated to keep confidential. Valve will not produce information

24 subject to confidentiality agreements or obligations between Valve and third parties, and which is

25 not publicly disclosed in the ordinary course of business, until any required notice has been given

26 and appropriate time provided for a third-party response.

       CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                   FOX ROTHSCHILD LLP
       VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                           1001 FOURTH AVENUE, SUITE 4400
       SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 3                                   SEATTLE, WA 98154
                                                                                                    206.624.3600
           Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 5 of 14




 1          Subject to and without waiving its objections, and excluding attorneys and persons retained
 2 by attorneys in connection or working at counsel’s direction with their representation of or

 3 provision of legal advice to Valve, who are not addressed by Valve’s response, Valve responds as

 4 follows: Valve launched Steam Direct on June 13, 2017, which allowed Steam Partners to submit

 5 games for potential distribution on Steam and subjected those games to a review process, as further

 6 described on Steam and in Steamworks documentation. See, e.g., https://steamcommunity.com/

 7 games/593110/announcements/detail/1328973169870947116,                https://partner.steamgames.com/
 8 steamdirect. To the extent such data is reasonably available, Valve will produce a list sufficient

 9 to show, for the time period of June 13, 2017 to the present, games that a publisher or developer

10 properly submitted to Valve for consideration through the Steam Direct review process (see

11 https://partner.steamgames.com/doc/store/review process) where Valve declined to allow the

12 game to be distributed through Steam after completing that review for reasons other than the

13 following: (i) for reasons related to a Digital Millennium Copyright Act takedown notice or claims,

14 (ii) a copyright or trademark dispute, or (iii) for violation of the content rules and guidelines listed

15 on https://partner.steamgames.com/doc/gettingstarted/onboarding.              The following Valve
16 employees may have materially participated in one or more of such decisions:

17

18

19

20

21

22

23          As for communications with specific Steam Partners, those may be identified by reviewing
24 Valve’s business records produced in this case, and the burden of deriving or ascertaining those

25 answers will be substantially the same for either Plaintiffs or Valve. Accordingly, pursuant to Fed.

26 R. Civ. P. 33(d), Plaintiffs are directed to Valve’s business records produced in this case in

       CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                     FOX ROTHSCHILD LLP
       VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                             1001 FOURTH AVENUE, SUITE 4400
       SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 4                                     SEATTLE, WA 98154
                                                                                                      206.624.3600
           Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 6 of 14




 1 connection with Request for Production No. 27, including but not limited to email communications

 2 and support tickets.

 3          SUPPLEMENTAL RESPONSE:                   Subject to and without waiving its foregoing
 4 objections, Valve identifies the following additional current and former Valve employees who are

 5 attorneys and in-house counsel at Valve. Valve is identifying them in this supplemental response

 6 pursuant to agreement among the parties. By doing so, Valve is not (i) agreeing that in-house

 7 counsel or their actions are proper subjects of discovery, (ii) waiving any attorney-client privilege,

 8 work product immunity, or other applicable privilege, immunity, or protection, or (iii) representing

 9 that the identified in-house counsel were acting in anything other than their legal capacity in taking

10 the actions below. The following Valve in-house attorneys may have materially participated in

11 one or more of the decisions described in this Interrogatory and Valve’s original response:

12

13

14

15          INTERROGATORY NO. 14:
16          Your Tenth Affirmative Defense in Your Answer and Affirmative Defenses to
17 Consolidated Amended Class Action Complaint states: “As long as Valve has a valid business

18 reason for the terms it attaches to its Steam Keys, which it does, those terms are not unlawful.”

19 (Dkt. # 104.) Identify each and every “valid business reason for the terms [Valve] attaches to its

20 Steam Keys” and all material documents reflecting, memorializing, or evidencing the same.

21          RESPONSE TO INTERROGATORY NO. 14:
22          In addition to its General Objections, Valve objects to this Interrogatory because it
23 impermissibly seeks a legal conclusion concerning the validity of Valve’s business reasons for the

24 terms it attaches to its Steam Keys.        Valve also objects to this Interrogatory insofar as it
25 prematurely seeks expert opinion or testimony, which Valve shall provide at the time and in the

26 manner set forth in the case schedule, the Federal Rules of Civil Procedure, and the Western

       CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                    FOX ROTHSCHILD LLP
       VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                            1001 FOURTH AVENUE, SUITE 4400
       SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 5                                    SEATTLE, WA 98154
                                                                                                     206.624.3600
           Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 7 of 14




 1 District of Washington Local Rules. Valve further objects to this Interrogatory because it purports

 2 to seek information, documents or communications protected from discovery or disclosure by the

 3 attorney-client privilege, work product doctrine, or any other applicable privilege, immunity or

 4 grounds for withholding information, or purport to require Valve to provide information from its

 5 attorneys. Valve objects to this Interrogatory’s use of the phrase “material documents” as vague

 6 to the extent it leaves Valve guessing as to what should be considered “material.”

 7          Based on its objections, Valve is not presently responding to this Interrogatory, but
 8 invites Plaintiffs to meet and confer.

 9          SUPPLEMENTAL RESPONSE: Subject to and without waiving its foregoing
10 objections, and pursuant to the parties’ agreement to narrow the scope and subject matter of this

11 Interrogatory to “business reason for the terms [Valve] attaches to its Steam Keys,” Valve

12 provides the following supplemental response:

13          Valve objects to the request to identify “each and every” valid business reason for the
14 terms it attaches to its Steam Keys, as the request is overly burdensome in that any attempt to

15 provide a comprehensive list of reasons would be misleading and necessarily incomplete. As

16 explained below, Valve’s reasons include a desire to frustrate the efforts of fraudsters, whose

17 schemes are perpetually evolving. Valve must exercise constant vigilance and evolve with

18 them—with each new threat that emerges, another “reason” for Valve’s Steam Keys terms

19 appears.

20          A Steam Key is an alphanumeric code granting a license to a particular game available
21 for play on Steam. Valve initially created Steam Keys to allow people who bought Valve games

22 in a box to have access to Steam services. Among other things, Steam allows games to be easily

23 kept up to date, so everyone who plays it has the same version—a must for multiplayer games.

24          When Steam Partners began to sell games on Steam, Valve gave Steam Keys to those
25 Partners for similar reasons, including to support their sales efforts in brick-and-mortar retailers

26 and allow their customers to use Steam to keep their games up to date. Since Valve does not

       CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                    FOX ROTHSCHILD LLP
       VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                            1001 FOURTH AVENUE, SUITE 4400
       SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 6                                    SEATTLE, WA 98154
                                                                                                     206.624.3600
           Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 8 of 14




 1 charge for Steam Keys, Steam Partners could keep all of the money they earned from selling

 2 Steam Keys.

 3          Valve provides a reasonable number of Steam Keys to Steam Partners in good standing
 4 (i.e., in compliance with the terms of the Steam Distribution Agreement and Steam rules and

 5 policies) for free. Steam Keys are optional; Steam Partners do not need to use them to distribute

 6 their games.

 7          Steam Keys make it convenient for Partners to sell their Steam-enabled games on their
 8 own websites or in virtual or brick-and-mortar stores outside of Steam, grant free access to critics

 9 and other influencers who may raise the profile of a game by reviewing or promoting it, or to

10 investors or beta testers who help support and improve it. Consumers who obtain Default

11 Release (or standard release) Steam Keys have access to the same free bandwidth, player

12 networks, and features made available to consumers who purchase the same games directly from

13 Steam. These valuable infrastructure and features are decidedly not free for Valve to develop and

14 maintain, so Valve limits the number of Steam Keys it gives away, which discourages free-

15 riding. Most Steam Partners value this free service and refrain from taking unfair advantage of it.

16          Unfortunately, some Partners use Steam Keys in a way that does not treat Steam
17 customers fairly or gives Steam customers a worse deal than Steam Key purchasers. For

18 example, some Partners request Steam Keys only to offer their Steam-enabled games for sale off

19 of Steam for low prices (or even for free) while consistently charging their customers on Steam

20 considerably more for the same products. Some request an unreasonable number of free Steam

21 Keys compared to the number of the same games they sell on Steam, e.g., requesting tens of

22 thousands of Steam Keys or more, but selling only a few hundred of the same games on Steam. It

23 makes little business sense for Valve to permit third parties to use Steam’s technology,

24 infrastructure, features, and operations to disadvantage Steam’s customers by making Steam a

25 more expensive place to buy Steam-enabled games. Because permitting such a use of Steam

26 Keys would promote free-riding, make Steam less desirable to customers, and harm Valve’s

       CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                  FOX ROTHSCHILD LLP
       VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                          1001 FOURTH AVENUE, SUITE 4400
       SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 7                                  SEATTLE, WA 98154
                                                                                                   206.624.3600
           Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 9 of 14




 1 business, Valve limits the number of free Steam Keys it issues, or declines to issue Steam Keys

 2 to Partners who use them to put Steam customers at a monetary disadvantage or free-ride on

 3 Valve’s investment in Steam. For the same reasons, Valve may decline to issue Steam Keys to

 4 Partners who use Steam Keys to put Steam customers at a disadvantage by making content for

 5 Steam-enabled games available for purchase or download outside of Steam without making

 6 comparable content available to Steam customers. See https://partner.steamgames.com/doc/

 7 features/keys.

 8          Valve also declines to grant requests for Steam Keys when the request suggests fraud.
 9          Valve limits the number and use of Release State Override (or beta package) or
10 Developer Autogrant (or devcomp) Steam Keys so that they are used for the purposes for which

11 they are issued. Valve ordinarily does not issue Steam Keys for free products because they are

12 not needed (as the products can be downloaded on Steam for free) or Steam bundles because

13 Steam Keys can be issued for individual games in the bundle. See https://partner.steamgames.

14 com/doc/features/keys.

15 //

16 //
   //
17 //
   //
18 //
   //
19
   //
20 //
   //
21 //
   //
22 //
   //
23
   //
24 //
   //
25 //

26

        CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                FOX ROTHSCHILD LLP
        VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                        1001 FOURTH AVENUE, SUITE 4400
        SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 8                                SEATTLE, WA 98154
                                                                                                  206.624.3600
        Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 10 of 14




 1

 2       DATED this 5th day of July, 2023.
 3

 4                                           s/ Gavin W. Skok
                                             Gavin W. Skok, WSBA #29766
 5                                           FOX ROTHSCHILD LLP
                                             1001 Fourth Avenue, Suite 4400
 6                                           Seattle, WA 98154
                                             Telephone (206) 624-3600
 7                                           Fax (206) 389-1708
                                             gskok@foxrothschild.com
 8
                                             Kristen Ward Broz
 9                                           FOX ROTHSCHILD LLP
                                             2020 K. St. NW, Ste. 500
10                                           Washington, DC 20006
                                             Telephone (202) 794-1220
11                                           Fax (202) 461-3102
                                             kbroz@foxrothschild.com
12
                                             Nathan M. Buchter
13                                           FOX ROTHSCHILD LLP
                                             2000 Market Street, 20th Floor
14                                           Philadelphia, PA 19103
                                             Telephone (215) 299-3010
15                                           nbuchter@foxrothschild.com
16                                           Charles B. Casper (pro hac vice)
                                             Peter Breslauer (pro hac vice)
17                                           Robert E. Day (pro hac vice)
                                             Jessica Rizzo (pro hac vice)
18                                           MONTGOMERY McCRACKEN WALKER
                                             & RHOADS LLP
19                                           1735 Market Street, 21st Floor
                                             Philadelphia, PA 19103
20                                           Telephone (215) 772-1500
                                             ccasper@mmwr.com
21                                            pbreslauer@mmwr.com
                                              rday@mmwr.com
22                                            jrizzo@mmwr.com
23                                           Attorneys for Defendant Valve Corporation
24

25

26

     CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                          FOX ROTHSCHILD LLP
     VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                  1001 FOURTH AVENUE, SUITE 4400
     SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 9                          SEATTLE, WA 98154
                                                                                         206.624.3600
          Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 11 of 14




 1                                   CERTIFICATE OF SERVICE
 2          I certify that I am a secretary at the law firm of Fox Rothschild LLP in Seattle,
 3 Washington. I am a U.S. citizen over the age of eighteen years and not a party to the within

 4 cause. On the date shown below, I caused to be served a true and correct copy of the foregoing

 5 on counsel of record for all other parties to this action as indicated below:

 6                                             Service List

 7
      Alicia Cobb, WSBA #48685                Via US Mail
 8    QUINN EMANUEL URQUHART & SULLIVAN, LLP  Via Messenger
      1109 First Avenue, Suite 210            Via CM/ECF / Email
      Seattle, Washington 98101
 9
      Telephone (206) 905-7000                Via over-night delivery
10    Fax (206) 905-7100
      aliciacobb@quinnemanuel.com
11
      Steig D. Olson (pro hac vice)
12    David LeRay (pro hac vice)
      Nicolas Siebert (pro hac vice)
13    Shane Seppinni (pro hac vice)
      QUINN EMANUEL URQUHART & SULLIVAN, LLP
14    51 Madison Avenue
      New York, New York 10010
15    Telephone (212) 849-7231
      Fax (212) 849-7100
16    steigolson@quinnemanuel.com
      davidleray@quinnemanuel.com
17    nicolassiebert@quinnemanuel.com
      shaneseppinni@quinnemanuel.com
18
      Adam Wolfson (pro hac vice)
19    QUINN EMANUEL URQUHART & SULLIVAN, LLP
      865 S. Figueroa St., 10th Floor
20    Los Angeles, California 90017
      Telephone (213) 443-3285
21    Fax (213) 443-3100
      adamwolfson@quinnemanuel.com
22
      Charles Stevens (pro hac vice)
23    QUINN EMANUEL URQUHART & SULLIVAN, LLP
      50 California St., 22nd Floor
24    San Francisco, CA 94111
      Telephone (415) 875-6600
25    Fax (415) 875-6700
      charliestevens@quinnemanuel.com
26
      Interim Co-Lead Counsel
       CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                    FOX ROTHSCHILD LLP
       VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                            1001 FOURTH AVENUE, SUITE 4400
       SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 10                                   SEATTLE, WA 98154
                                                                                                     206.624.3600
         Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 12 of 14




 1   David Golden (pro hac vice)
     Justin Fore (pro hac vice)
 2   CONSTANTINE CANNON LLP
     1001 Pennsylvania Ave., 22nd Floor
 3   Washington, D.C. 20004
     Telephone (202) 204-4527
 4   Fax (202) 204-3501
     dgolden@constantinecannon.com
 5   wfore@constantinecannon.com
 6   A. Owen Glist (pro hac vice)
     Ankur Kapoor (pro hac vice)
 7   Jeffrey I. Shinder (pro hac vice)
     CONSTANTINE CANNON LLP
 8   335 Madison Avenue, 9th Floor
     New York, NY 10017
 9   Telephone (212) 350-2700
     Fax (212) 350-2701
10   oglist@constantinecannon.com
     akapoor@constantinecannon.com
11   jshinder@constantinecannon.com
12   Stephanie L. Jensen, WSBA #42042
     Tyre L. Tindall, WSBA #56357
13   WILSON SONSINI GOODRICH & ROSATI P.C.
     701 Fifth Avenue, Suite 5100
14   Seattle, WA 98104-7036
     Telephone (206) 883-2500
15   Fax (206) 883-2699
     sjensen@wsgr.com
16   ttindall@wsgr.com
17   Kenneth R. O’Rourke (pro hac vice)
     Scott A. Sher (pro hac vice)
18   Allison B. Smith (pro hac vice)
     WILSON SONSINI GOODRICH & ROSATI, P.C.
19   1700 K Street, NW, Suite 500
     Washington, DC 20006
20   Telephone (202) 973-8800
     Fax (202) 973-8899
21   korourke@wsgr.com
     ssher@wsgr.com
22   allison.smith@wsgr.com
23

24

25

26

     CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                  FOX ROTHSCHILD LLP
     VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’          1001 FOURTH AVENUE, SUITE 4400
     SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 11                 SEATTLE, WA 98154
                                                                                 206.624.3600
           Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 13 of 14



      W. Joseph Bruckner (pro hac vice)
 1    Joseph C. Bourne (pro hac vice)
      Kyle J. Pozan (pro hac vice)
 2    Leona Bridget Ajavon (pro hac vice)
      LOCKRIDGE GRINDAL NAUEN P.L.L.P.
 3    100 Washington Avenue S, Suite 2200
      Minneapolis, MN 55401
 4    Telephone: (612) 339-6900
      Fax: (612) 339-0981
 5    wjbruckner@locklaw.com
      jcbourne@locklaw.com
 6    kjpozan@locklaw.com
      lbajavon@locklaw.com
 7
      Interim Co-Lead Counsel
 8
      Kenneth J. Rubin (pro hac vice)
 9    Timothy B. McGranor (pro hac vice)
      Kara M. Mundy (pro hac vice)
10    Douglas R. Matthew (pro hac vice)
      VORYS, SATER, SEYMOUR AND
11      PEASE LLP
      52 East Gay Street
12    Columbus, Ohio 43215
      Telephone (614) 464-6400
13    Fax (614) 719-4796
      kjrubin@vorys.com
14    tbmcgranor@vorys.com
      kmmundy@vorys.com
15    drmatthews@vorys.com
16    Thomas N. McCormick (pro hac vice)
      VORYS, SATER, SEYMOUR AND
17      PEASE LLP
      4675 MacArthur Court, Suite 700
18    Newport Beach, California 92660
      Phone (949) 526-7903 ǀ Fax (949) 383-2384
19    tnmccormick@vorys.com
20   Executive Committee
21
            I declare under penalty of perjury under the laws of the State of Washington that the
22
     foregoing is true and correct.
23
            EXECUTED this 5th day of July, 2023, in Seattle, Washington.
24

25                                                       /s/ Veronica I. Magda
                                                         Veronica I. Magda
26

       CONFIDENTIAL – PURSUANT TO PROTECTIVE ORDER                                  FOX ROTHSCHILD LLP
       VALVE’S SUPP. RESP. AND OBJECTIONS TO PLAINTIFFS’                          1001 FOURTH AVENUE, SUITE 4400
       SECOND SET OF INTERROGATORIES (2:21-CV-00563-JCC) - 12                                 SEATTLE, WA 98154
                                                                                                   206.624.3600
Case 2:21-cv-00563-JCC Document 313-19 Filed 07/11/24 Page 14 of 14
